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                                         July 2, 2020


VIA ECF

Hon. Thomas J. McAvoy
Senior United States District Judge
United States District Court
Federal Building and U.S. Courthouse
15 Henry Street
Binghamton, New York 13901

Hon. Christian F. Hummel
United States Magistrate Judge
United States District Court
James T. Foley U.S. Courthouse
445 Broadway, Room 441
Albany, New York 12207

       Re:    National Rifle Association of America v. Cuomo, No. 18-cv-00566-TJM-CFH

Dear Judges McAvoy and Hummel:

       On behalf of Plaintiff the National Rifle Association of America (the “NRA”), I write to
seek a brief extension of two upcoming deadlines, both of which fall on the same day: the
submission of the NRA’s opposition to Defendants DFS, Cuomo, and Lacewell’s Motion to
Dismiss (ECF No. 210) and Defendant Vullo’s Notice of Appeal and Motion to Dismiss (ECF No.
211), both presently due July 7, 2020. The NRA respectfully requests that each of the foregoing
deadlines be extended until July 13, 2020. This would accord with recent extensions of other
deadlines, requested by Defendants, to which the NRA and the Court have consented, and is sought
by the NRA due to unanticipated COVID-19-related disruptions. Undersigned counsel met and
conferred yesterday by email with counsel for all Defendants, and received no response to this
request.



                                                   Respectfully,


                                                   /s/ Sarah B. Rogers

                                                   Sarah B. Rogers


cc:    All Counsel of Record (via ECF)
